Case 5:11-cv-02509-LHK Document 799-22 Filed 04/10/14 Page 1 of 4




       EXHIBIT 1250
         to the Declaration of
    Lisa J. Cisneros in Support of
     Plaintiffs’ Opposition Briefs

          REDACTED VERSION
              Case 5:11-cv-02509-LHK Document 799-22 Filed 04/10/14 Page 2 of 4




From:                       Digby Homer
Sent:                       Monday, October 25,2010 11:12 PM
To:                         John Farmer
Cc:                         Rick Waters; Jocelyn Vosburgh
Subject:                    RE: CONFIDENTIAL:


Do it.



From: John Farmer
Sent: Monday, October 25,2010 5:31PM
To: Digby Horner
Cc: Rick Waters; Jocelyn Vosburgh
Subject: FW: CONFIDENTIAL:
Importance: High


Apologies for the exclamation point, but I wanted to make sure this stuck out given all the other em ails that I've sent
you today.

Spoke with Jocelyn and Rick today and we think it's a no-brainer to retain       He's interviewed with four companies
(twitter, facebook, amazon, and Netflix) so he's aware of his value in the market. He's also been
          and his comp ratio is low compared to his peers.

The easiest path here is to                                                                                            Let
me know if you have any concerns here. If none, we'll probably need you to send a heads up to Kristen so she can
approve a COS from for you after I clear things with Angela.

John

From: Jocelyn Vosburgh
Sent: Monday, October 25,2010 15:57
To: John Farmer
Cc: Jocelyn Vosburgh
Subject: FW: CONFIDENTIAL:
Importance: High


           information for our discussion this afternoon.




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Peers:                                                                                                                 Date      3 ~ J- 13
                                                                                                                           Gina V. Carbone, CSR
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                  Case 5:11-cv-02509-LHK Document 799-22 Filed 04/10/14 Page 3 of 4




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    Jocelyn

    From: John Farmer
    Sent: Monday, October 25, 2010 1:29 PM
    To: Jocelyn Vosburgh; Rick Waters
    Subject: FW: CONFIDENTIAL:
    Importance: High


    Jocelyn,

                   is a star performer for our team (see Rick's write-up below). I asked Rick to put together a write-up
    because I think we're at serious risk of losing     During my skip-levell:l with         last week, he had made an off-
    hand remark about compensation relative to his performance. Digging further, I discovered that he has already
    interviewed with a four cloud-computing firms (twitter, facebook, amazon, and netflix).

    Worse, he has college friends that work at these companies and now knows that they're making approximately $1SK
    more per year than he is.

    Given that he's a star performer, we're already loading him up with additional responsibility, and he's interviewed with
    four other companies already, we'd like to adjust his salary immediately and give him a promotion as part of this focal. I
    spoke with Digby about this before his trip to China and he suggested I follow up with you right away.

    Do you have time to meet at SPM today to discuss further?


    From: Rick Waters
    Sent: Saturday, October 23, 2010 17:53
    To: John Farmer
    Subject: CONFIDEI"lffAL:


    John,

               is a key member of my team and a top performer, especially considering his relative inexperience- fresh out
    of college when we hired him just over 2 years ago. Given     technical ability, general intelligence, and great success
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                 Case 5:11-cv-02509-LHK Document 799-22 Filed 04/10/14 Page 4 of 4



at collaborating with team members, I'm confident that he could easily get a great job elsewhere if he desired. I think it's
important to the future success of my team and our services that we retain him.

Over the past year,         has made several major contributions to our storage service. He has not contributed as a
subordinate to a more senior engineer, which might be more typical for someone of his experience level, but has been
the primary driver ofthese efforts himself. His contributions here include stabilizing a critical component of our storage
service that eluded attempts by more senior engineers, being the team expert oo hardware and storage issues that are
critical to our service, and completely replacing an expensive commercial monitoring solution with something he built
himself. This last project in particular demonstrates      exceptional drive and motivation, since he identified this
project on his own as something valuable that he could pursue on his personal time. Only later, after he had created a
prototype, did we being budgeting time for this project as part of his official responsibilities.

     has also been the right-hand man for my architect, in terms of idea sharing and code reviews. I think it says a lot
about       potential that my architect seeks out and values his opinion so much. Indeed, when I collected peer
feedback about       earlier this year, my architect had this to say:

          I renew my request to "keep       happy" here on our team, since in my mind he is a key part of our future
          success.

Beyond his significant contributions to our storage.service,          has also taken the initiative to branch out and establish
two new services that we will be able to offer clients as part of our portfolio. One is a monitoring service that is already
being used by my own team, the ASIT virtualization team, and photoshop.com.                defined this service on his own,
started it as a side project, and turned it into an important piece of technology that is starting to be used more widely in
the company. The other is a messaging service that          is fully taking the lead on- driving requirements definition,
researching open source technologies that we can leverage and contribute to, defining hardware specifications, and
implementing the service itself. -

I have two open requisitions right now, and I intend to have those new hires work under           direction to help build
out these new services. I think it's important to give       opportunities to push himself further and develop the
technical leadership potential that he clearly has. I have total confidence that      will perform exceptionally as I give
him additional responsibility.

Thanks,
/Rick




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